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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JANE DOES 1-7,                                *
                                              *
       Plaintiffs,                            *
                                              *
       v.                                     *
                                              *       Civil Action No. 1:25-cv-00234 (RDM)
OFFICE OF PERSONNEL                           *
MANAGEMENT,                                   *
                                              *
       Defendant.                             *
                                              *
*      *       *       *       *      *       *       *       *      *       *       *       *

               PLAINTIFFS’ UNOPPOSED NUNC PRO TUNC MOTION
              FOR ENLARGEMENT OF TIME WITHIN WHICH TO FILE
            THEIR OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

       NOW COME Plaintiffs to respectfully request a retroactive eight-day enlargement of

time pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, to and including 5 March

2025, within which to file their Opposition to Defendant’s Motion to Dismiss, Dkt. #17. This

brief was due yesterday, 25 February 2025.

       Plaintiffs have good cause to request this extension, and the undersigned sincerely

apologizes to the Court for filing this Motion a day late. The undersigned has spent most of today

in an administrative hearing—to which he will return tomorrow—and was required to spend a

significant amount of time earlier this week and over the weekend preparing for it. Further

complicating matters was the fact that, as noted in other filings, he was unexpectedly required to

quickly respond over the weekend to the developments which gave rise to the motion for

sanctions he will be filing on Friday. In the midst of all of these conditions, he overlooked the

fact that he needed to file this Motion yesterday, even though he had discussed it with

Defendant’s counsel over the weekend.
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       This is the first extension requested for this filing. Defendant does not oppose this

extension. A proposed Order accompanies this Motion.

Date: February 26, 2025

                                                 Respectfully submitted,

                                                 /s/ Kelly B. McClanahan
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